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                                      February 9, 2018

VIA ECF & ELECTRONIC MAIL
 The Honorable Cathy Seibel, United States District Judge
 United States District Court for the Southern District of New York
 Hon. Charles L. Brieant Jr. Federal Building and U.S. Courthouse
 300 Quarropas St.
 White Plains, NY 10601
 chambersnysdseibel@nysd.uscourts.gov

       Re:     Markos v. Russell Brands, LLC Civil Action No. 16-04362 (CS)
Dear Judge Seibel:
    Plaintiff respectfully submits the following letter in opposition to Defendant’s February 2nd,
2018, pre-motion letter discussing its intention to move (1) to exclude Plaintiffs’ experts; (2) for
summary judgment; (3) to strike allegations in the Complaint; and (4) for recovery of costs,
attorneys’ fees, and other sanctions.
    Without providing a basis for its motions, Defendant states it intends to file motions to exclude
“all or portions of the testimony/opinions of each of Plaintiff’s three experts.” Similarly, the
grounds upon which Defendant requests a motion for summary judgment are entirely unclear.
Defendant presents a list of “uncontroverted” facts in its letter; however, it appears Defendant
intends to use these facts in opposition to Plaintiff’s forthcoming motion for class certification.
But rather than present a basis for summary judgment, these disputed facts highlight why summary
judgment is inappropriate here. It is also unclear what Defendant’s proposed basis is for recovery
of costs, attorneys’ fees, and other sanctions. If Defendant’s pre-motion letter is a request for
sanctions, the request violates Rule 11(c) because Defendant did not satisfy the safe harbor
requirement, did not make a separate motion, and did not describe any specific conduct that
violates Rule 11(b).

               1. Proposed Motion to Exclude Plaintiff’s Damages Expert.
   Defendant states it anticipates filing a motion to exclude testimony from Plaintiff’s damages
expert, Colin B. Weir of Economics and Technology, Inc. However, it gives no reason why Weir’s
report should be stricken and none of the facts in its letter touch on Weir’s opinions. Weir is a
highly respected, and widely accepted, expert on economic damages whose opinions and
methodologies on price premium calculation are widely accepted. Thus, Defendant’s request
should be denied.
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               2. Proposed Motion to Exclude Plaintiff’s Engineering Experts.
   Similarly, Defendant’s requests to strike the expert reports of Jeff McFadden from i3
Engineering Sciences and Stuart Brown of Veryst Engineering, LLC are unfounded.
    Defendant takes issue with the fact that Plaintiff’s engineering experts did not measure the air
pressure of the NeverFlat basketballs (“NF Balls”). However, Defendant’s internal documents
show there is a direct correlation between rebound height and air pressure retention, and both of
Plaintiff’s experts stated they were able to measure the air pressure in the balls indirectly by
measuring the rebound height. McFadden’s testing showed the NF Balls returned to their original
rebound height after being reinflated to 9 psi, providing additional evidence that the loss in rebound
height was a result of loss in air pressure. Defendant’s internal testing of the outdoor NF Balls
yielded similar results. Further, Defendant cannot dispute that the testing demonstrates its claims
regarding the rebound height are false. Plaintiff’s experts’ testing is directly relevant to evaluate
those claims.
    Next, contrary to Defendant’s assertions, McFadden’s testing confirms the allegations in the
Complaint that the NF Balls do not reach the consistent minimum rebound height advertised by
Defendant, and that rebound height declines over time. McFadden did not “underreport” the
rebound height of the balls, but rather measured rebound height from the bottom of the balls
because that is the standard depicted in Defendant’s advertising. The graph in paragraph 27 of the
Complaint depicts the NF Balls bouncing with the bottom of the ball consistently reaching a height
of 54 inches. As stated in the Complaint, and detailed in Mr. McFadden’s report, the NF Balls
never reached that height, and their rebound height declined over time, despite Defendant’s
representations to the contrary. Thus, McFadden’s report accurately demonstrates Defendant’s
representation is deceptive in two respects: the NF Balls never reach their advertised initial
rebound height, and the rebound height declines over time. (Compl. ¶ 29.)
    Furthermore, Defendant’s apparent reliance on the FIBA and NCAA standards is an attempt
to hide the fact it made specific representations (outside of these standards) regarding its products’
performance over time and that Plaintiff’s experts’ testing shows those representations were false.
While these standards were used as a reference point, Plaintiff’s Complaint alleges that NF Balls
do not consistently bounce to between 54 and 60 inches over a one-year period (as represented by
Defendant). McFadden’s testing showed that the NF Balls never reached a bounce height of 54
inches (measured from the bottom of the ball, as depicted in Defendant’s graphics), and that the
rebound height of the NF Balls declined over time. Similarly, Dr. Brown’s testing showed a
decrease in rebound height in the NF Balls after less than 12 weeks, that the Indoor/Outdoor NF
Balls failed to bounce to 54 inches at 11.4 weeks, and that the Outdoor NF Balls would fail to
bounce to 54 inches before 27 weeks. Defendant’s statements regarding the FIBA and NCAA
standards do not change the fact that Plaintiff’s experts’ methodologically sound testing
demonstrated Defendant’s representations were false.
   Thus, Defendant’s request to file a motion to exclude Plaintiff’s engineering experts should be
denied.
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                3. Proposed Motion for Summary Judgment / Motion to Strike Allegations.
    Defendant’s request for a pre-motion conference is premised primarily on its improper attacks
on Plaintiff’s counsel and issues of dispute fact that lie at the heart of this case. The record is clear
that Plaintiff’s counsel did not “create” this litigation as Defendant suggests. Rather, Plaintiff
sought out counsel after discovering that Defendant’s product failed to live up to its
representations. (Markos Dep. Tr. 138, 228). Defendant itself is solely responsible for creating
this litigation by producing a product that does not perform as advertised. None of the supposed
“uncontroverted facts” serve as a basis for Defendant’s motions. Rather, these facts highlight the
liability dispute in this case—and show that summary judgment is improper. Defendant’s
allegations are particularly improper given that Defendant’s internal documents and testing show
that the model of the basketball purchased by Plaintiff did not perform as Defendant advertised it
would.
     Defendant also mischaracterizes Plaintiff’s deposition testimony, in which he repeatedly stated
his NF Ball did not perform as advertised and that he was unhappy with the ball’s performance.
(Markos Dep. Tr. 13, 198, 244). Plaintiff testified that he did consider his ball to be flat because
it did not bounce as high as is was supposed to (Id. at 244). That Plaintiff may have been satisfied
with the product for the first few months is irrelevant because Defendant represented it would
maintain performance over a full year, which it did not. Furthermore, to the extent Defendant
contends Plaintiff did not provide sufficient notice of Defendant’s breach of warranty, that is
incorrect. Upon realizing his NF Ball did not perform as represented, Plaintiff, through his
attorneys, sent a letter and draft complaint to Defendant which included a claim for breach of
warranty. This constituted sufficient notice of Defendant’s breach of warranty. See Paulino v.
Conopco, Inc., 2015 U.S. Dist. LEXIS 108165, at *4 (E.D.N.Y. Aug. 17, 2015).
    Finally, a comparatively low retail return rate is not, as a matter of law, indicative of consumer
satisfaction. Indeed, it could simply mean that consumers do not want to undergo an arduous return
process or decided to purchase a replacement basketball when their NF Ball failed to perform as
advertised. Furthermore, that some customers may ultimately be satisfied with Defendant’s
products does not negate the fact that Defendant made demonstrably false representations
regarding the performance of the NF Balls.
    Given that Defendant did not provide any bases to support its anticipated motions and that the
motions are ultimately meritless, Plaintiff respectfully requests the Court deny its request in its
entirety.
                                       Respectfully submitted,
                               THE SULTZER LAW GROUP P.C.




                                            Adam Gonnelli
cc:     Counsel of Record via ECF
